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                                                                              FILED

                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA 20I6JAH27 PH \-21
                                 JACKSONVILLE DIVISION

CALVIN MCFARLAND,

  Plaintiff,                                      CASE NO.: 3' ^ -CV- fiO- J>                     ^OCR.
-vs-



ONEMAIN FINANCIAL GROUP, LLC,
d/b/a ONEMAIN FINANCIAL,

 Defendant.



                                         COMPLAINT


       1.      Plaintiff alleges violation of the Telephone Consumer Protection Act, 47 U.S.C.

§227 et seq. ("TCPA") and the Florida Consumer Collection Practices Act, Fla. Stat. §559.55 et

seq. ("FCCPA").

                                       INTRODUCTION


       2.      The TCPA was enacted to prevent companies like ONEMAIN FINANCIAL

GROUP, LLC, d^/a ONEMAIN FINANCIAL from invading American citizens' privacy and

prevent abusive "robo-calls."

       3.      "The TCPA is designed to protect individual consumers from receiving intrusive

and unwanted telephone calls." Mims v. Arrow Fin. Servs.. LLC. -US-, 132 S.Ct. 740, 745,

181 L.Ed.2d 881 (2012).

       4.      "Senator Rollings, the TCPA's sponsor, described these calls as 'the *1256

scourge of modem civilization, they wake us up in the morning; they interrupt our dinner at

night; they force the sick and elderly out of bed; they hound us until we want to rip the telephone

out of the wall." 137 Cong. Rec. 30, 821 (1991) Senator Rollings presumably intended to give
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telephone subscribers another option: telling the autodialers to simply stop calling." Osario v.

Stale Farm Bank, F.S.B., 746 F. 3d 1242 (1Cir. 2014).

       5.      According to the Federal Communications Commission (FCC), "Unwanted calls

and texts are the number one complaint to the FCC. There are thousands of complaints to the

FCC every month on both telemarketing and robocalls. The FCC received more than 215,000

TCPA complaints in 2014." https://www.fcc.gov/document/fact-sheet-consumer-protection-

proposaL

                                JURISDICTION AND VENUE


       6.      Jurisdiction and venue for purposes of this action are appropriate and conferred by

28 U.S.C.§1331.

       7.      The alleged violations described herein occurred in Duval County, Florida.

Accordingly, venue is appropriate with this Court under 28 U.S.C. §1391(b)(2), as it is the

judicial district in which a substantial part of the events or omissions giving rise to this action

occurred.


                                 FACTUAL ALLEGATIONS


       8.      Plaintiff is a natural person, and citizen of the State of Florida, residing in

Jacksonville, Duval County, Florida.

       9.      Plaintiff is the "called party." See Breslow v. Wells Fargo Bank, N.A., 755 F. 3d

1265 (11'" Cir. 2014) and Osorio v. State Farm Bank F.SB., 746 F.3d 1242 (11*^ Cir. 2014).
       10.     Plaintiff is a "consumer" as defined in Florida Statute 559.55(8).

       11.     Defendant is a corporation which was formed in Delaware doing business in the

State of Florida through its Registered Agent, C T Corporation System, 1200 South Pine Island

Road, Plantation, FL 33324.
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         12.   The debt that is the subject matter of this complaint is a "consumer debt" as

defined by Florida Statute §559.55(6).

         13.   Defendant is a "creditor" as defined in Florida Statute 559.55(5).

         14.   Plaintiff is the regular user and carrier of the cellular telephone number at issue,

(904) 745-8202, and was the called party and recipient of Defendant's hereinafter described

calls.


         15.   In or about September of 2013, Plaintiff began receiving calls to his

aforementioned cellular telephone from Defendant seeking to recover an alleged debt.

         16.   Upon receipt of the calls from Defendant, Plaintiffs caller ID identified the calls

were being initiated from, but not limited to, the following phone number: (803) 835-4374, (803)

835-4373, (888) 921-2340, (888) 202-1333. (888) 921-2342, (888) 202-1266.

         17.   Upon information and belief, each call the Defendant made to the Plaintiff was

made using an "automatic telephone dialing system" which has the capacity to store or produce

telephone numbers to be called, without human intervention, using a random or sequential

number generator; and to dial such numbers as specified by 47 U.S.C §227(a)(l).

         18.   Furthermore, each of the calls at issue were placed by the Defendant using a

"prerecorded voice," as specified by the TCPA, 47 U.S.C. § 227(b)(1)(A).

         19.   None of Defendant's telephone calls placed to Plaintiff were for "emergency

purposes" as specified in 47 U.S.C. §227(b)(l)(A).

         20.   Defendant attempted to collect a debt firom the Plaintiff by this campaign of

telephone calls.

         21.   In or about November of 2013, due to the ceaseless barrage of automated calls

firom Defendant, Plaintiff answered a call from the Defendant, met with an extended pause, and
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was eventually connected to a live agent/representative of Defendant, at which time Plaintiff

informed Defendant that the calls were harassing, and demanded that the Defendant cease

placing calls to his aforementioned cellular telephone number.

       22.     During the aforementioned November of 2013 phone conversation with

Defendant's agent/representative. Plaintiff expressly revoked any express consent Defendant

may have had for placement of telephone calls to Plaintiff's aforementioned cellular telephone

number by the use of an automatic telephone dialing system or a pre-recorded or artificial voice.

       23.     Each subsequent call the Defendant made to the Plaintiffs aforementioned

cellular telephone number was done so without the "express permission" of the Plaintiff.

       24.     Each subsequent call the Defendant made to the Plaintiffs aforementioned

cellular telephone number was knowing and willful.

       25.     Again in or about February of 2014, due to continued calls to his aforementioned

cellular telephone number from the Defendant, Plaintiff again called the Defendant, met with an

extended pause, eventually was connected to a live agent/representative of Defendant, and

informed an agent/representative of Defendant that he had previously demanded that Defendant

cease placing calls to his aforementioned cellular telephone number, to which Defendant's

agent/representative responded that they were an aggressive company, that they would do

whatever they had to do to get what they are owed, from any phone number they want, at which

point Plaintiff again demanded that Defendant case placing calls to his aforementioned cellular

telephone number.

       26.    Despite actual knowledge of their wrongdoing, the Defendant continued the

campaign of abuse, calling the Plaintiff despite not having his express permission to call his

aforementioned cellular telephone number.
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       27.      On at least thirty (30) separate occasions, Plaintiff has answered a call from

Defendant, held the line to be connected to a live representative, and demanded that Defendant

cease placing calls to her aforementioned cellular telephone number.

       28.      Each of the Plaintiffs requests for the harassment to end were ignored.

       29.      From about September of 2013 through the filing of this Complaint, Defendant

has placed approximately two-thousand (2,000) calls to Plaintiffs aforementioned cellular

telephone number. (Please see attached Exhibit "A" representing a non-exclusive call log of

sixty (60) calls from August 25,2015 through September 19,2015).

       30.      Defendant intentionally harassed and abused Plaintiff on numerous occasions by

calling several times in the same hour, during one day, and on back to back days, with such

frequency as can reasonably be expected to harass.

        31.     Defendant has a corporate policy to use an automatic telephone dialing system or

a pre-recorded or artificial voice, just as they did to the Plaintiff's cellular telephone in this case,

with no way for the consumer, or Defendant, to remove the number.

        32.     Defendant's corporate policy and procedures are structured as to continue to call

individuals like the Plaintiff, despite these individuals revoking any consent the Defendant may

have believed they had.

        33.     Defendant's corporate policy is structured as to continue to call individuals like

the Plaintiff, despite these individuals demanding that the Defendant stop cdling them.

        34.     Defendant has numerous other federal lawsuits pending against them alleging

similar violations as stated in this complaint. The Defendant has been sued in Federal Court over

thirty-eight (38) times in the last three (3) years.

        35.     Defendant violated the TCPA with respect to the Plaintiff.
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       36.     Defendant willfully and/or knowingly violated the TCPA with respect to the

Plaintiff


                                            COUNTI
                                     (Violation of the TCPA)

       37.     Plaintiff incorporates Paragraphs one through thirty-six(36).

       38.     Defendant caused placement of non-emergency telephone calls to Plaintiffs

cellular telephone using an automatic telephone dialing system or prerecorded or artificial voice

without Plaintiffs prior express consent in violation of federal law, including 47 U.S.C §

227(b)(l)(A)(iii).

       39.     Defendant willfully and knowingly caused placement of non-emergency

telephone calls to Plaintiffs cellular telephone using an automatic telephone dialing system or

prerecorded or artificial voice without Plaintiffs prior express consent in violation of federal

law, including 47 U.S.C § 227(b)(l)(A)(iii).

       WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against Defendant for statutory damages, punitive damages, actual damages and any

other such relief the court may deem just and proper.

                                            COUNT II
                                    (Violation of the FCCPA)

       40.     Plaintiff incorporates Paragraphs one through thirty-six (36).

       41.     At all times relevant to this action Defendant is subject to and must abide by the

law of Florida, including Florida Statute § 559.72.

       42.     Defendant has violated Florida Statute §559.72(7) by willfully communicating

with the debtor or any member of her or his family with such frequency as can reasonably be

expected to harass the debtor or her or his family.
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       43.    Defendant has violated Florida Statute §559.72(7) by willfully engaging in

conduct which can reasonably be expected to abuse or harass the debtor or any member of her or

his family.

       44.     Defendant's actions have directly and proximately resulted in Plaintiffs prior and

continuous sustaining of damages as described by Florida Statute §559.77.

       WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against Defendant for statutory damages, punitive damages, actual damages, costs,

interest, attorney fees, enjoinder from further violations of these parts and any other such relief

the court may deem just and proper.

                                             Respectfully Submitted,


                                              s!Amanda J Allen
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